                       Case 1:19-mj-03608-UA Document 4 Filed 04/29/19 Page 1 of 1


DOCKETNo.             /q        &~ 3~0~                                                     J_..u. .kw~'---L----'~---'--&_r
                                                                            DEFENDANT _ -........   ..                      f_,__ __
              &,/IJ                             S-c l..r ~ -e. r            DEF. 'S COUNSEL T.) (~V\          (;. a.-/-- +C)      811{ l
AUSA                    6. V"'"\   ; /\.

0 _ _ _ _ _ _ _ _ INTERPRETER NEEDED
                                                                            o RETAINED   e'FEDERAL DEFENDERS              erc:J~RESENTMENT ONLfi                           l1I\
                                                                                      D DEFENDANT WAIVES PRETRIAL REPORT                                              v·~     )
    /
€'f Rule 5       0 Rule 9 0 Rule 5(c)(3) 0 Detention Hrg.                      DATE OF ARRES:I' 7 // (, I q
                                                                                                            tJ     L       l· .....
                                                                                                                                          -l>b1-e,,,..,.
                                                                                                                                       i;;.
                                                                                                                                              VOL. SURR.
                                                                                                  1
                                                                               TIME OF ARREST                                              0 ON WRIT
0 Other:                                                                       TIME OF PRESENTMENT l 2 ! 3                        t.f (J. tYJ , . '-1 ( ?.-- 't   f/ q ,

                                                                   BAIL DISPOSITION
                                                                                                                                              0   SEE SEP. ORDER
0   DETENTION ON CONSENT W/O PREJUDICE      0 DETENTION: RISK OF FLIGHT/DANGER 0 SEE TRANSCRIPT
D   DETENTION HEARING SCHEDULED FOR: _ _ _ _ _ _ _ __                                                                                                                         •
0   AGREED CONDITIONS OF RELEASE
0   DEF. RELEASED ON OWN RECOGNIZANCE
r.&-$ t£... 0 0 0 c) PRB 0       FRP
0 SECURED BY $               CASH/PROPERTY:
~VEL RESTRICTED TO SDNY/EDNY/ ~ •.b. tt" ""-A.-J--f"N--·,-AM-.-vlA-.~--
                                                                      -f"l-t-b1-1.t_,k_w1.t.;_·,-.L-th/--~-,M<k--0--h-~--tp-~v- ~
0 TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OFA°i*A & APPROVAL olYPRETRIAL SEiVICES SOIO'f ? 1"
~SURRENDER TRAVEL DOCUMENTS (&NO NEW APPLICATIONS)
3-J>RETRIAL SUPERVISION: 0 REGULAR 0 STRICT ~AS DIRECTED BY PRETRIAL SERVICES
0 DRUG TESTINGITREATMT AS DIRECTED BY PTS 0 MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
ji(DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

0 HOME INCARCERATION      0 HOME DETENTION     0 CURFEW    0 ELECTRONIC MONITORING    0 GPS
0 DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

0 DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] ¢,DEF. TO CONTINUE OR START EDUCATION PROGRAM
}{DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

0 DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
Ji.DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:----------
-------------------~·REMAINING CONDITIONS TO BE MET BY: _ _ _ __

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:
        'D~f <shtt:lf ~'& --tl'-C~ffivc ~ ~ dc.di.w[
         bef.' fh&1.({ mt po~e5.J A..f\1 CM+r~tld_ s:..J..Cft<Mc.Lo UM.1-Ut pr-e1tM.W ~             #>...   U-ec..(""-u.tr-c..        ~rvv-lk-
         b-et. to be r.t-l-t~ py.,_ 1.f{-z..q{r"I.,



I
,0 DEF. ARRAIGNED; PLEADS NOT GUILTY                        0 CONFERENCE BEFORE D.J. ON _ _ _ __
0 DEF. WAIVES INDICTMENT
 0 SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 316l(h)(7) UNTIL _ _ _ __

For Rule 5(c)(3) Cases:
0 IDENTITY HEARING WAIVED                                                  0 DEFENDANT TO BE REMOVED
0 PRELIMINARY HEARING IN SDNY WAIVED                                       0 CONTROL DATE FOR REMOVAL: _ _ _ __


                                                                           $-ON DEFENDANT'S CONSENT



                                                                                    UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.
filI1m (original)- COURT FILE              flliK- U.S. ATTORNEY'S OFFICE         ~       - U.S. MARSHAL              QREEN - PRETRIAL SERVICES AGENCY
Rev'd2016 IH-2
